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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 MICHAEL SMITH,                                  Case No.: 20-cv-1944

                Plaintiff,                       JURY TRIAL DEMANDED
        v.
                                                 COMPLAINT FOR VIOLATIONS OF
 GILAT SATELLITE NETWORKS LTD.,                  FEDERAL SECURITIES LAWS
 DOV BAHARAV, ELYEZER SHKEDY,
 DAFNA COHEN, MEIR SHAMIR, DAFNA
 SHARIR, AMIR OFEK, ISHAY DAVIDI,
 AYLON RAFAELI, and AMIRAM BOEHM,

                Defendants.


                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action.

Dated: June 17, 2020

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